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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

UNITED STATES OF AMERICA
Criminal No. 1:18-cr-00083-TSE

Judge T. S. Ellis, III

ORAL ARGUMENT REQUESTED

PAUL .l. MANAFORT, JR., May 253 2018 @ 9;()() a_m_

Defendant.

 

MOTION TO REOUIRE A HEARING REGARDING IMPROPER
DISCLOSURES RELATING TO C()NFIDENTIAL GRAND JURY INFORMATION
AND POTENTIALLY CLASSIFIED MATERIALS

Defendant Paul J. Manafort, Jr., by and through counsel, respectfully moves this Court to
require a hearing regarding improper disclosures of confidential grand jury information and
potentially classified materials regarding the defendant that have been made to the press. The
unauthorized disclosure of this information is in violation of Fed. R. Crim. P. 6(e)(2)(B) and the
defendant’s Fifth and Sixth Amendment rights. Pursuant to Local Criminal Rule 47(E), the
defendant requests that oral argument be heard on May 25 , 2018 @ 9:00 a.m,, the date and time
that the Court has previously set. A memorandum of law is submitted herewith.

Dated: April 30, 2018 Respectfully submitted,

s/ Kevin M. Downing
Kevin M. Downing (pro hac vice)

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s/ Thomas E. Zehnle

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Counsel for Defendam‘ Paul J Manafort, Jr,

CERTIFICATE OF SERVICE
1 hereby certify that on the 30th day of April, 2018, l Will electronically file the foregoing With
the Clerk of Court using the CM/ECF system, Which Will then send a notification of such filing
(NEF) to the following:

Andrew A. Weissman

Greg D. Andres

U.S. Department of Justice

Special Counsel’s Office

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/s/ Thomas E. Zehnle

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